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                       IN THE UNITED S TATES DIS TRICT COURT
                           FOR THE DIS TRICT OF MARYLAND


CHERYL ANNE BELL
1788 M itchells Chapel Rd.
Pittsboro, NC 27312

       Plaintiff,

v.                                             Civil Action No.:__________________

CARROLL COUNTY GENERAL                         JURY TRIAL DEMANDED
HOSPITAL SOUTH CARROLL M EDICAL
CENTER, INC. a/k/a CARROLL COUNTY
GENERAL HOSPITAL, INC. d/b/a
CARROLL HOSPITAL CENTER
200 M emorial Avenue
Westminster, M D 21157

       Serve on: Resident Agent
                 Charles O. Fisher, Esq.
                 179 E. M ain Street
                 Westminster, M D 21157

and

BASSAM Y. BARAKAT, M .D.,
Individually and/or as Agent, Servant and/or
Employee of CARROLL COUNTY
GENERAL HOSPITAL SOUTH
CARROLL M EDICAL CENTER, INC.
a/k/a CARROLL COUNTY GENERAL
HOSPITAL, INC. d/b/a CARROLL
HOSPITAL CENTER
200 M emorial Avenue
Westminster, M D 21157

       Serve on: Resident Agent
                 Charles O. Fisher, Esq.
                 179 E. M ain Street
                 Westminster, M D 21157

       Defendants.

                                         COMPLAINT
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       NOW COM ES the Plaintiff, Cheryl Anne Bell (hereinafter “Plaintiff”) by and through

her attorney, Robert E. Joyce, and sue the above-captioned Defendants and, in support of her

Complaint, she alleges as follows:

                1.     Jurisdiction is proper in the United States District Court for the District of

M aryland pursuant to 28 U.S.C §1332 in that the controversy exceeds the sum or value of

$75,000.00, exclusive of interests and costs and is between citizens of different states.

                2.      The amount in controversy is in excess of Twenty Five Thousand

($25,000.00) and thereby exceeds the limits of concurrent jurisdiction pursuant to Courts and

Judicial Proceedings §3-2A-02(a)(1).

                3.     This is a unilateral waiver of compulsory arbitration from the

Health Claims Alternative Dispute Resolution Office of M aryland pursuant to Courts and

Judicial Proceedings §3-2A-06 B (attached hereto as Exhibit "A" is a copy of the Waiver of

Arbitration).

                4.     At all times relevant to this claim, Defendant Carroll County General

Hospital South Carroll M edical Center, Inc a/k/a Carroll County General Hospital, Inc. d/b/a

Carroll Hospital Center (hereinafter referred to as “Defendant Hospital”) is/was a corporation,

professional association and/or entity organized under the laws of the State of M aryland and

licensed to practice medicine through their agents, servants and employees and represented to

the public and the Plaintiff that it possessed the degree of skill, knowledge, care, diligence and

standard of medical care ordinarily possessed by reasonably prudent hospitals, professional

associations and/or entities acting under the same or similar circumstances. Defendant Hospital,

through its agents, servants and/or employees owed a duty to Plaintiff to exercise the degree of


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knowledge, care, skill and judgment ordinarily exercised by reasonably prudent and competent

hospitals acting in the same or similar circumstances in treating and caring for Plaintiff.

                5.      At all times relevant to this claim, Defendant Bassam Y. Barakat, M .D.

(hereinafter referred to as “Defendant Barakat”) is/was an obstetrician and gynecologist licensed

to practice medicine in the State of M aryland and was acting individually and/or as an agent,

servant and/or employee of Defendant Hospital. At all times relevant to this Claim, Defendant

Barakat represented to the public and the Plaintiff that he possessed the degree of skill,

knowledge, care, diligence and standard of medical care ordinarily possessed by reasonably

prudent obstetricians and/or gynecologists acting under the same or similar circumstances.

Defendant Barakat owed a duty to Plaintiff to exercise the degree of knowledge, care, skill and

judgment ordinarily exercised by reasonably prudent and competent obstetricians and

gynecologists acting in the same or similar circumstances in treating and caring for Plaintiff.

                6.      That at all times relevant to this claim the above-named health care

provider, through its actual and/or apparent agents, servants and/or employees, undertook to

render care and treatment to the Plaintiff and it therefore became the duty of the above named

health care provider and/or its actual and/or apparent agents, servants and/or employees to

exercise that degree of care, skill and judgment exercised by reasonably prudent and competent

facilities, corporations, health care providers and assistants in treating and caring for Plaintiff in

the same and/or similar circumstances.

                7.      Upon information and belief, Defendant employed or contracted as the

principal, the services of gynecologists, obstetricians, physician assistants and others who

rendered care and treatment to the Plaintiff as described herein and therefore is liable under the

doctrine of respondeat superior for any negligent acts or omissions committed by its employees,

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agents or servants in the treatment and/or failure to treat Plaintiff.

                8.      On or about October 6, 2004, at approximately 10:50 a.m. Plaintiff

presented to the emergency department of the Defendant Hospital complaining of severe

abdominal pain with a 24 hour history of moderate nausea and blood-tinged diarrhea. The

abdominal pain was noted to occur even when she breathed.

                9.      Plaintiff was evaluated by emergency department personnel who ordered a

pelvic ultrasound to rule out ovarian torsion, a pregnancy test and attempted a pelvic exam.

Plaintiff was “unable to complete exam - [complained of] too much pain.” Plaintiff was

administered intravenous pain medication, including Demerol, to relieve the pain.

                10.      The pregnancy test was positive with an HCG of 4000. The pelvic

ultrasound revealed a “3cm left ovarian cyst” and the report noted the positive pregnancy test.

The radiologist noted in the differential that “early age of gestation versus ectopic pregnancy to

be excluded” via clinical exam, repeat pelvic ultrasound and serial HCG. The emergency

department physicians requested an evaluation by the house OB/GYN on duty.

                11.      At approximately 2:15 p.m. Plaintiff was examined by Defendant

Barakat. Defendant noted mild abdominal tenderness on palpation and “early pregnancy.”

Instead of treating Plaintiff for an ectopic pregnancy, Defendant Barakat instead attributed her

symptoms with a “possible inflammatory bowel disease” due to the adnexae being negative on

palpation. However, Defendant Barakat did note ectopic pregnancy as part of his differential

and instructed the Plaintiff to “follow up [with] own clinic [Kaiser] for repeat sono[gram],

BHCG...ectopic warnings discussed with patient.” The Plaintiff was summarily discharged by

Defendant Barakat from Defendant Hospital.

                12.       Overnight the pain became excruciating and the bleeding continued.

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Plaintiff was assisted by her mother to the emergency department at Sinai Hospital of Baltimore

and was admitted at approximately 4:30 p.m. on October 7, 2004 where she was diagnosed with

a ruptured ectopic pregnancy. Her abdomen was distended and she was found to be

hemodynamically unstable with pain radiating into her back and shoulders. Her HGC had

dropped to 2030. A pelvic exam by the staff OB/GYN revealed a left adenexal cyst. A

sonogram was performed which revealed hemoperitoneum in the right lower abdomen with free

fluid and fluid filled bowel in the right paracolic gutter on the ascending colon. The left ovary

was noted to have a 2.1 x 1.8 cm cyst, suspected to be a corpus luteum cyst. An emergency

exploratory laparotomy was performed requiring a left partial salpingectomy and an

intraoperative blood transfusion with four (4) units of packed red blood cells was required to

attempt to replace the blood which had been bled out into the peritoneum.

               13.      Postoperatively on October 8, 2004, due to the massive blood loss from

the ruptured ectopic pregnancy, Plaintiff suffered a massive hypoxic episode requiring intubation

and as a result developed an adult acute respiratory distress syndrome and lost a fallopian tube as

a result of the rupture. She was hospitalized for seven (7) days in order to stabilize her vital

signs and suffered great emotional distress and incurred medical and other expenses.

               14.       As a result of the negligence of the Defendant in failing to adequately or

emergently treat Plaintiff, Plaintiff’s condition worsened causing a ruptured ectopic pregnancy,

massive hemorrhaging into her peritoneum, acute respiratory distress disorder and a hypoxic

episode which required a lengthy, expensive and painful recovery period In addition, she was

unable to work for a long period of time causing her to lose her employment and wages.

Furthermore, she endured extreme and unremitting conscious pain and suffering, permanent

scarring and loss of a normal lifestyle. Had Defendants treated the ectopic pregnancy in a

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timely fashion, Plaintiff would have recovered without any significant disability or damage.

                                    COUNT I - NEGLIGENCE

                15.     Plaintiff, Cheryl Anne Bell , adopts and incorporates by reference

paragraphs one (1) through fourteen (14) of the Complaint as if fully set forth herein and further

alleges as follows:

                16.     At all times relevant to this complaint and contrary to acceptable standards

of care as practiced by reasonably prudent gynecologists and/or hospitals acting in the same or

similar circumstances, the Defendants and their actual and/or apparent agents, servants and/or

employees deviated from the standard of care in that they were negligent and breached the duty

imposed upon them, including but not limited to the following ways: in failing to perform timely

and aggressive treatment of Plaintiff’s ectopic pregnancy; failing to admit the Plaintiff overnight

for observation and repeat testing; in failing to disclose to Plaintiff the risks of not timely or

aggressively treating an ectopic pregnancy; failing to prevent a ruptured ectopic pregnancy by

performing timely surgery and/or performing the procedure properly; failing to order tests and

incorrectly interpreting tests which were ordered; failing to properly identify the cause of the

Plaintiff’s condition; and, in being otherwise negligent.

                17.     Plaintiff rely on the doctrines of res ipsa loquitor and informed consent.

                18.     As a direct and proximate result of the negligent acts and omissions of the

Defendants, the Plaintiff, with no negligence on her part, suffered personal injuries and damages,

including an acute respiratory distress syndrome, hypoxia, loss of a fallopian tube, massive

internal hemorrhaging into her peritoneum requiring her to undergo radical impatient surgical

therapy and suffer permanent disability and scarring. She has experienced conscious pain and

suffering and emotional pain and suffering; was caused to incur medical expenses, and he has

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incurred and will incur future pain, suffering, mental anguish and permanent disability.

               19.     That each of the damages and injuries sustained by Plaintiff is a direct

and proximate result of the aforesaid negligence of the health care providers named herein

and/or their actual and/or apparent agents, servants and/or employees as aforesaid, without any

negligence of the Plaintiff contributing thereto.

               WHEREFORE, Plaintiff, Cheryl Anne Bell, brings this action against the above

named Defendants and/or their agents, servants and/or employees and claims compensatory

damages in excess of twenty-five thousand dollars ($25,000.00) plus costs, and for such other

and further relief as may be necessary and proper.



                                                        Respectfully submitted,


                                                                 /s/

                                                        Robert E. Joyce
                                                        Federal Bar #26427
                                                        841 E. Fort Avenue
                                                        #250
                                                        Baltimore, M D 21230
                                                        (443) 904-5706

                                                        Attorney for Plaintiff




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                                   DEMAND FOR JURY TRIAL

        Plaintiff, Cheryl Anne Bell, by and through undersigned counsel hereby respectfully

requests a jury trial in this matter.

                                                    Respectfully submitted,


                                                             /s/

                                                    Robert E. Joyce
                                                    Federal Bar #26427
                                                    841 E. Fort Avenue
                                                    #250
                                                    Baltimore, M D 21230
                                                    (443) 904-5706

                                                    Attorney for Plaintiff




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